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                                                                                                             Hogan Lovells US LLP
                                                                                                             390 Madison Avenue
                                                                                                             New York, NY 10017
                                                                                                             T +1 212 918 3000
                                                                                                             F +1 212 918 3100
                                                                                                             www.hoganlovells.com




                                                                                               October 23, 2020

BY ECF
The Honorable Andrew L. Carter, Jr.
United States District Court Judge
Southern District of New York
40 Foley Square
New York, New York 10007

                                                      JOINT STATUS REPORT


Re:          United States v. Reginald Fowler, S3 19 Cr. 254 (ALC)

Dear Judge Carter:

         We are counsel to Mr. Reginald Fowler in the above-referenced action, and we submit
this letter jointly with the government to request a bail hearing during the week of October 26,
2020. At the October 15, 2020 status conference, we advised the Court that we had informed the
government of our intention to request a modification of the defendant’s current bail conditions
to allow him to fund his defense. The Court instructed the parties to file a joint status report on
the bail application today. Unfortunately, the parties have been unable to reach an agreement.

        By way of summary, the defense seeks an adjustment of the May 8, 2019 letter (the
“Letter”)(attached), endorsed by the Court, which served as the basis of Mr. Fowler’s release on
bond with conditions. Among other elements, the Letter includes, as the fifth bail condition, that
“[n]o new lines of credit without [Pretrial Services] approval” shall be issued to the defendant.
The Letter also references the five properties that the government required the defendant to post
as security for the $5 million personal recognizance bond. The defense requests modification of
both of these items.

        Specifically, the defense respectfully requests that the language of the fifth bail condition
of the Letter be changed to bar the defendant only from seeking lines of credit without pretrial
services approval against property obtained after February 2018 (the beginning of the alleged
conspiracy). The defense also asks that the below five houses be removed as additional security
for the bond:

      •      3965 Bayamon Street, Las Vegas, Nevada
      •      8337 Brittany Harbor Drive, Las Vegas, Nevada
      •      4670 Slippery Rock Drive, Fort Worth Texas
      •      4417 Chaparral Creek Drive, Fort Worth, Texas
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      •   8821 Friendswood Drive, Fort Worth, Texas

       The government opposes this application. The defense and government have conferred
about scheduling a short hearing to resolve these issues, and the parties are generally available
Wednesday, October 28 and Friday, October 30 of next week.

                                                      Respectfully submitted,

                                                      /s/ James G. McGovern

                                                      James G. McGovern

cc:       All counsel of record (via ECF)
